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 4
 5   Attorneys for Defendant
     JOSEPH LATU
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 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  Case No.: 2:15-CR-00209 JAM
12               Plaintiff,
                                                WAIVER OF PERSONAL APPEARANCE
13        vs.
14   JOSPEH LATU,
15               Defendant.
16
17        Defendant hereby waives the right to be present in person
18   in open court upon the hearing of any motion or other proceeding
19   in this case, including when the case is set for trial, when a
20   continuance is ordered, when time is excluded under the Speedy
21   Trial Act, when a detention hearing is held, and when any other
22   action is taken by the Court before or after trial, except upon
23   arraignment, plea, empanelment of jury and imposition of
24   sentence.    Defendant hereby requests the Court to proceed during
25   every absence of his which the Court may permit pursuant to this
26   waiver; agrees that his interests will be deemed represented at
27   all time by the presence of his attorney, the same as if
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                              WAIVER OF PERSONAL APPEARANCE
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 1   defendant were personally present; and further agrees to be
 2   present in person in court ready for trial on any day which the
 3   Court may fix in his absence.
 4   DATED:   11/16/2015         /s/_____________________________
                                      JOSEPH LATU
 5
 6
 7   APPROVED:
 8
 9   _____/s/_____________________
     CLYDE M. BLACKMON
10   Attorney for Defendant
     JOSEPH LATU
11
12   IT IS SO ORDERED.
13
14
15   DATED: 11/17/2015                 /s/ John A. Mendez________________
                                       UNITED STATES DISTRICT COURT JUDGE
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                             WAIVER OF PERSONAL APPEARANCE
